Case 5:23-cv-00544-R Document1-4 Filed 06/20/23 Page1of 3

Exyhibiy - 0 14-5A pt

INFORMAL RESOLUTION

|.To.be-completed byinmate/resident: .-. =

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Name (Print): Kr sua Or Lek
Last Name First Name Middle Initial

Number“! i272? HOUSING ASSIGNMENT: Moved from EC to Ah, 244

Date:

Description of issue, problem, and solution you suggest:
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Attach additional pages, if ne

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Date received from inmate/resident:

Name of staff member completing informal resolution process:

Date response due to inmate/resident:

Date and time initial meeting held with the inmate/resident:

Additional information received from initial meeting:

Names of staff members involved with the inmate/resident’s issue:

Distribution:
Original: Facility

Copy: Inmate/Resident
01/09

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